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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 THE NATIONAL FEDERATION OF                   )
 THE BLIND, et aI.                            )
                                              )
          Plaintiffs,                         )
                                              )   Civil Action No. 18-01568 (TDC)
                  v.                          )
                                              )
 UNITED STATES DEPARTMENT OF                  )
 EDUCA TION, et aI.                           )
                                              )
          Defendants.                         )


                                                  ORDER

         HAVINO READ AND CONSIDERED the Joint Status Report by the parties, it is,

this ~      day of      0 J. Au   til   2018, ORDERED that absent further Order of this

Court, the parties shall submit a Joint Status Report informing the Court about the status

of this case on or before November 5, 2018.




                                              THEODORE D. CHUAN
                                              United States District Jud
